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Judgment in a Civil Case


                          United States District Court
                      WESTERN DISTRICT OF NEW YORK



     DENNIS D’ANDREA                                 JUDGMENT IN A CIVIL CASE
                                                     CASE NUMBER: 15-CV-467
            v.

     ENCOMPASS INSURANCE
     COMPANY OF AMERICA


     ☐ Jury Verdict. This action came before the Court for a trial by jury. The
     issues have been tried and the jury has rendered its verdict.

     ☐ Decision by Court. This action came to trial or hearing before the Court.
     The issues have been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED: that Defendant’s motion for summary

     judgment dismissing the complaint is Granted.




     Date: August 29, 2018                   MARY C. LOEWENGUTH
                                             CLERK OF COURT



                                             By: s/Suzanne Grunzweig
                                                 Deputy Clerk
